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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
  ___________________________________________________________________

JOEL SMITH and JOHN NESSE or any             Civil No. 22-22 (JRT/JFD)
successors as Trustees of the
Minnesota Laborers Health and
Welfare Fund, JOEL SMITH and
DANIEL SHOEMAKER or any
successors as Trustees of the
Minnesota Laborers Pension Fund,     ORDER FOR DISMISSAL WITHOUT PREJUDICE
JOEL SMITH and HEATHER
GRAZZINI or any successors as
Trustees of the Minnesota Laborers
Vacation Fund, FRED CHASE and
JOE FOWLER or any successors as
Trustees of the Construction
Laborers’ Education, Training, and
Apprenticeship Fund of Minnesota
and North Dakota, DAVE BORST
and MARK RYAN or any successors
as Trustees of the Minnesota
Laborers Employers Cooperation
and Education Trust, or any
successors, THE MINNESOTA
LABORERS HEALTH AND WELFARE
FUND, THE MINNESOTA LABORERS
PENSION FUND, THE MINNESOTA
LABORERS VACATION FUND, THE
CONSTRUCTION LABORERS’
EDUCATION, TRAINING, and
APPRENTICESHIP FUND OF
MINNESOTA AND NORTH DAKOTA,
and the MINNESOTA LABORERS
EMPLOYERS COOPERATION AND
EDUCATION TRUST,

      Plaintiffs,

vs.

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 HUSKY CONSTRUCTION, INC.,

      Defendant.
  ____________________________________________________________________

      Amy L Court, MCGRANN SHEA CARNIVAL STRAUGHN & LAMB, CHTD, 800
      Nicollet Mall Suite 2600, Minneapolos, MN 55402-7035, for plaintiffs.

      Cally R Kjellberg-Nelson, QUINLIVAN & HUGHES, PA, PO Box 1008, St.
      Cloud, MN 56302-1008, for defendant.

      Based upon the Stipulation for Dismissal without Prejudice, having been presented

to the Court on behalf of the above parties:

      IT IS HEREBY ORDERED, the above-entitled action is hereby dismissed without

prejudice, and without attorneys’ fees, costs or disbursements of any kind to any party.



 Dated: March 29, 2022                             s/John R. Tunheim
 At Minneapolis, Minnesota                         JOHN R. TUNHEIM
                                                   Chief Judge
                                                   United States District Court




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